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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA,

                                Plaintiff,                     ORDER

                        v.                           :         Crim. No. 11-447 (WHW)

  RUSSELL FLUKER,

                                Defendant.




Walls, Senior District Judge


        This matter having been opened to the Court by lacullo Martino, LLC, by and through

Anthony J. lacullo, Esq. attorneys for the defendant, Russell Fluker, and on notice to the United

States Attorney’s Office by and through Sharon Ashe, Assistant United States Attorney, and the

parties having consented to same, and good cause having been shown:

        It is, on this 29th day of November, 2011:

        ORDERED that the defendant, Russell Fluker, be transferred to the UMDNJ Medical

Center, or any other appropriate medical facility, for the purpose of assessing his prostate cancer;

and it is further

        ORDERED that the defendant, Russell Fluker, shall immediately receive medical

consultation and appropriate medical treatment of his condition at the UMDNJ Medical Center,

or any other appropriate medical facility, after such assessment is completed.




                                                                                           Judge
